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                                CERTIFICATE OF SERVICE

        I, Jennifer R. Hoover, hereby certify that on January 9, 2024, I caused the foregoing

Certification of Counsel Regarding Revised Order Granting Relief from the Automatic Stay, to

the Extent Applicable, to Permit Payment, Reimbursement and/or Advancement of Defense

Costs and Fees and Related Expenses to Edward Hightower and Adam Kroll Under Directors

and Officers Insurance Policies to be served by electronic means via the Court’s ECF system to

all parties registered to receive electronic notice in this case.



                                                /s/ Jennifer R. Hoover
                                               Jennifer R. Hoover (DE 5111)
